

People v Parker (2022 NY Slip Op 03876)





People v Parker


2022 NY Slip Op 03876


Decided on June 14, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 14, 2022

Before: Webber, J.P., Gesmer, Oing, Singh, Kennedy, JJ. 


Ind. No. 1702/17 Appeal No. 16129 Case No. 2019-4569 

[*1]The People of the State of New York, Respondent, 
vKenneth Parker, Defendant-Appellant.


Stroock &amp; Stroock &amp; Lavan, LLP, New York (Robert A. Mantel of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel Young of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Julio Rodriguez, III, J.), rendered August 14, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 14, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








